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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
KAREN MANERI                                      :
                                                  :      NO. 17-3881
              v.                                  :
STARBUCKS CORPORATION STORE #1527                 :
                                          ORDER


       AND NOW, this 31st day of October, 2019, upon consideration of Defendant’s Motion

for Summary Judgment (Doc. No. 24), Plaintiff’s Response (Doc No. 27) and Defendant’s Reply

to the Response (Doc. No. 28), it is hereby ORDERED that the Motion (Doc. No, 24) is

GRANTED and this action is DISMISSED with prejudice.


                                          BY THE COURT:


                                                /s/Jacob P. Hart
                                          _______________________________
                                                JACOB P. HART
                                          UNITED STATES MAGISTRATE JUDGE
